
PER CURIAM.
The judgment and sentence in this case are affirmed except for the assessment of a public defender’s lien against the defendant. The record does not show that the defendant was advised of his right to a hearing to contest the amount of the hen as required by Florida Rule of Criminal Procedure 3.720(d)(1). See also Smith v. State, 622 So.2d 638 (Fla. 5th DCA 1993). Therefore, the public defender’s lien of $500 is stricken, without prejudice to the reimposition of the lien upon remand after compliance with Florida Rule of Criminal Procedure 3.720(d)(1).
JUDGMENT and SENTENCE AFFIRMED; LIEN QUASHED and REMANDED.
GOSHORN, DIAMANTIS and THOMPSON, JJ., concur.
